B1 (Official Form 1) (04/13)             Case 14-13814-RAM                     Doc 1          Filed 02/19/14              Page 1 of 40
                                       UNITED STATES BANKRUPTCY COURT
                                                                                                                                    VOLUNTARY PETITION
                              SOUTHERN DISTRICT OF FLORIDA
                                 __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
GOMEZ, ALFREDO
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 0816                                                          (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
10121 MARTINIQUE DR
MIAMI, Florida
                                                         ZIP CODE                   33189                                                        ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
MIAMI-DADE
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                   ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                       X     Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                             Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                          Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                   (Check one box.)
                                                                                                                      X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization             debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States             § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).               individual primarily for a
                                                                                                                          personal, family, or
                                                                                                                          household purpose.”
                                   Filing Fee (Check one box.)                                                                Chapter 11 Debtors
                                                                                              Check one box:
  X     Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  X        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-         25,001-           50,001-          Over
                                                            5,000          10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
 Estimated Liabilities
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
B1 (Official Form 1) (04/13)        Case 14-13814-RAM Doc 1 Filed 02/19/14 Page 2 of 40
 Voluntary Petition                                                                    Name of Debtor(s): GOMEZ, ALFREDO
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X                       s/                     February 19, 2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)



                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1) (04/13)        Case 14-13814-RAM                         Doc 1          Filed 02/19/14              Page 3 of 40                                        Page 3
 Voluntary Petition                                                                          Name of Debtor(s): GOMEZ, ALFREDO
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/ALFREDO GOMEZ                                                                        X
      Signature of Debtor                 ALFREDO GOMEZ                                           (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      February 19, 2014                                                                           Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s/                                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Carlos A. Santos, II                                                                   provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Carlos A. Santos, II                                                                   guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      61 Grand Canal Drive Suite 202                                                         or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Miami, Florida 33144                                                                   attached.
      Address
      (305) 265-5678
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      February 19, 2014
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                                 Case 14-13814-RAM               Doc 1        Filed 02/19/14          Page 4 of 40
B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                          __________
                                            SOUTHERN DISTRICT OF FLORIDA



In re                                                                                     Case No. ___________________
        ALFREDO GOMEZ
        ________________________________________,
                                                                                                  7
                                                                                          Chapter ____________
                   Debtor

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                   NO                               $      97,000.00

 B - Personal Property
                                                    YES                  3            $       1,395.00

 C - Property Claimed
     as Exempt
                                                     NO

 D - Creditors Holding
                                                    YES                                                     $       211,000.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims                                YES
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $                0.00
     Nonpriority Claims                             YES

 G - Executory Contracts and
     Unexpired Leases                                NO

 H - Codebtors
                                                     NO

 I - Current Income of
                                                    YES                  2                                                          $             0.00
     Individual Debtor(s)

 J - Current Expenditures of Individual
                                                    YES                  3                                                          $        3,285.47
     Debtors(s)

                                          TOTAL                                       $      98,395.00      $       211,000.00
                                                                         8
                               Case 14-13814-RAM                 Doc 1      Filed 02/19/14          Page 5 of 40
B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                      _________________________________
                                            SOUTHERN DISTRICT OF FLORIDA


In re                                                                                   Case No. ___________________
        ALFREDO GOMEZ
        _______________________________________,                                                7
                                                                                        Chapter ____________
                   Debtor


    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

            Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $

 Taxes and Certain Other Debts Owed to Governmental Units             $
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $

 Domestic Support, Separation Agreement, and Divorce Decree           $
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $
 Obligations (from Schedule F)

                                                           TOTAL      $

State the following:
 Average Income (from Schedule I, Line 12)                            $

 Average Expenses (from Schedule J, Line 22)                          $

 Current Monthly Income (from Form 22A Line 12; OR, Form              $
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $
  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $
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B6A (Official Form 6A) (12/07)

In re ALFREDO GOMEZ,                                                                            Case No.
                                       Debtor                                                                           (If known)


                                 SCHEDULE A - REAL PROPERTY




                                                                                Husband, Wife, Joint,
                                                                                                          CURRENT VALUE




                                                                                   or Community
                                                                                                            OF DEBTOR’S
                  DESCRIPTION AND                                                                           INTEREST IN       AMOUNT OF
                                                 NATURE OF DEBTOR’S
                    LOCATION OF                                                                         PROPERTY, WITHOUT      SECURED
                                                INTEREST IN PROPERTY
                     PROPERTY                                                                             DEDUCTING ANY         CLAIM
                                                                                                          SECURED CLAIM
                                                                                                           OR EXEMPTION



 Real Estate Property
 10121 Martinique Dr
 Miami, FL 33189                                                                                                $97,000.00           $250,000.00




                                                                              Total ►                            $97,000.00


                                                (Report also on Summary of Schedules.)
                              Case 14-13814-RAM              Doc 1         Filed 02/19/14     Page 7 of 40
B 6B (Official Form 6B) (12/2007)

In re ALFREDO GOMEZ,                                                                        Case No.
                                                    Debtor                                                               (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                              Joint, Or Community
                                                                                                                      CURRENT VALUE OF




                                                                                                 Husband, Wife,
                                                N                                                                   DEBTOR’S INTEREST IN
                                                O        DESCRIPTION AND LOCATION                                    PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N              OF PROPERTY                                             DEDUCTING ANY
                                                E                                                                      SECURED CLAIM
                                                                                                                        OR EXEMPTION


 1. Cash on hand.                                   CASH ON HAND                                                                       $20.00


 2. Checking, savings or other financial            TD BANK: 424-8581202                                                               $50.00
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                    BANK OF AMERICA: 1537                                                              $50.00



 3. Security deposits with public utilities,
 telephone companies, landlords, and            X
 others.

 4. Household goods and furnishings,                BED SET, DINIG SET, TV AND SOFA                                                   $200.00
 including audio, video, and computer
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                                X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                WEARING APPAREL                                                                    $75.00



 7. Furs and jewelry.                           X

 8. Firearms and sports, photographic,
                                                X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                                X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                                X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
                              Case 14-13814-RAM           Doc 1       Filed 02/19/14   Page 8 of 40
B 6B (Official Form 6B) (12/2007)

In re ALFREDO GOMEZ,                                                               Case No.
                                                 Debtor                                               (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                          (Continuation Sheet)


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.      X
 Give particulars.

 13. Stock and interests in incorporated
                                             X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                             X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable          X
 instruments.

 16. Accounts receivable.                    X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor    X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                             X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than    X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                             X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and   X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                             X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                             X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                             X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and          2002 CHEVROLET SILVERADO                                          $1,000.00
 other vehicles and accessories.                 MILES:228,672




 26. Boats, motors, and accessories.         X
                             Case 14-13814-RAM               Doc 1         Filed 02/19/14          Page 9 of 40
B 6B (Official Form 6B) (12/2007)

In re ALFREDO GOMEZ,                                                                            Case No.
                                                  Debtor                                                          (If known)


                                    SCHEDULE B - PERSONAL PROPERTY
                                                               (Continuation Sheet)


 27. Aircraft and accessories.             X

 28. Office equipment, furnishings, and
                                           X
 supplies.

 29. Machinery, fixtures, equipment, and
                                           X
 supplies used in business.

 30. Inventory.                            X

 31. Animals.                              X

 32. Crops - growing or harvested. Give
                                           X
 particulars.

 33. Farming equipment and implements.     X

 34. Farm supplies, chemicals, and feed.   X

 35. Other personal property of any kind
                                           X
 not already listed. Itemize.


                                           2 continuation sheets attached         Total ►                                      $1,395.00
                                                      (Include amounts from any continuation
                                                        sheets attached. Report total also on
                                                              Summary of Schedules.)
                         Case 14-13814-RAM                Doc 1       Filed 02/19/14           Page 10 of 40
B6C (Official Form 6C) (04/13)

In re ALFREDO GOMEZ,                                                                          Case No.
                                       Debtor                                                                        (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                       CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                  VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                  WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                      EXEMPTION

 NONE




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                               Case 14-13814-RAM                                                                                             Doc 1           Filed 02/19/14                                                                                                                   Page 11 of 40
 B 6D (Official Form 6D) (12/07)


 In re ____________________________________,
       ALFREDO GOMEZ                                                                                                                                                                                                            Case No. __________________________________
                                                                                             Debtor                                                                                                                                                    (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                            HUSBAND, WIFE,




                                                                                                                                                                                                                        UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                             DATE CLAIM WAS                                                                                                                                             AMOUNT OF CLAIM                                       UNSECURED




                                                                                                                                                                                     CONTINGENT
                                                                                             COMMUNITY
                                                           CODEBTOR
      MAILING ADDRESS                                                                                                                 INCURRED,                                                                                                                                                   WITHOUT                                           PORTION, IF

                                                                                              JOINT, OR




                                                                                                                                                                                                                                                             DISPUTED
  INCLUDING ZIP CODE AND                                                                                                           NATURE OF LIEN ,                                                                                                                                           DEDUCTING VALUE                                          ANY
    AN ACCOUNT NUMBER                                                                                                                    AND                                                                                                                                                   OF COLLATERAL
     (See Instructions Above.)                                                                                                       DESCRIPTION
                                                                                                                                    AND VALUE OF
                                                                                                                                      PROPERTY
                                                                                                                                   SUBJECT TO LIEN
 ACCOUNT NO.
CAPITAL ONE/AUTO                                                                                                              Security
PO BOX 60511                                                                                                                  Agreement
CITY OF INDUSTRY, CA                                                                                                                                                                                                                                                                                      $11,000.00                                              $0.00
91719                                                                                                                         TOYOTA
                                                                                                                              COROLLA 2008
                                                                                                                              70,000 miles
                                                                                                                                   VALUE $         $9,000.00


ACCOUNT NO.
                                     ———————————————————



                                                                      ———————————————————




                                                                                                             ———————————————————




                                                                                                                                                               ———————————————————




                                                                                                                                                                                                  ———————————————————




                                                                                                                                                                                                                                       ———————————————————




                                                                                                                                                                                                                                                                        ———————————————————




                                                                                                                                                                                                                                                                                                                           ———————————————————
—————————————————————————————————

CHASE                                                                                                                         Mortgage
PO BOX 78420
PHOENIX, AZ 85062                                                                                                             10121
                                                                                                                              MARTINIQUE DR                                                                                                                                                              $200,000.00                                              $0.00
                                                                                                                              MIAMI, FL 33189
                                                                                                                        ———————————————————————
                                                                                                                           VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                               $100,000.00




 ____
   0 continuation sheets                                                                                                           Subtotal ►                                                                                                                                                 $            211,000.00 $                                             0.00
      attached                                                                                                                     (Total of this page)
                                                                                                                                   Total ►                                                                                                                                                    $           211,000.00 $                                              0.00
                                                                                                                                   (Use only on last page)
                                                                                                                                                                                                                                                                                              (Report also on Summary of                         (If applicable, report
                                                                                                                                                                                                                                                                                              Schedules.)                                        also on Statistical
                                                                                                                                                                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                 Data.)
                              Case 14-13814-RAM                 Doc 1        Filed 02/19/14            Page 12 of 40
B 6E (Official Form 6E) (04/13)

       In re
                 ALFREDO GOMEZ                                                         ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
X    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            0 continuation sheets attached
                                                           ____
B 6F (Official Form 6F) (12/07)    Case 14-13814-RAM                         Doc 1     Filed 02/19/14             Page 13 of 40

          ALFREDO GOMEZ
    In re _________________________________________________________,                                    Case No. _________________________________
                                            Debtor                                                                              (if known)
         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
           G
           X Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                            HUSBAND, WIFE,

                                                             COMMUNITY
              CREDITOR’S NAME,                                                    DATE CLAIM WAS                                                                  AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                                                              JOINT, OR




                                                                                                                       CONTINGENT
                                                 CODEBTOR
               MAILING ADDRESS                                                     INCURRED AND                                                                     CLAIM




                                                                                                                                                   DISPUTED
             INCLUDING ZIP CODE,                                                CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                         CLAIM.
                  See instructions above.                                      IF CLAIM IS SUBJECT TO
                                                                                  SETOFF, SO STATE.




                                                                                                                                        Subtotal'             $

           0
         _____continuation sheets attached                                                                                         Total'                     $
                                                                                     (Use only on last page of the completed Schedule F.)
                                                                 (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                       Summary of Certain Liabilities and Related Data.)
              Case 14-13814-RAM                 Doc 1       Filed 02/19/14              Page 14 of 40
B 6G (Official Form 6G) (12/07)

In re ALFREDO GOMEZ,                                                         Case No.
                                             Debtor                                          (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND
      NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
          INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                              NUMBER OF ANY GOVERNMENT CONTRACT.
                         Case 14-13814-RAM           Doc 1   Filed 02/19/14     Page 15 of 40
B 6H (Official Form 6H) (12/07)

In re ALFREDO GOMEZ,                                                 Case No.
                                                   Debtor                                (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                             NAME AND ADDRESS OF CREDITOR
                                  Case 14-13814-RAM                Doc 1       Filed 02/19/14          Page 16 of 40

 Fill in this information to identify your case:


 Debtor 1            ALFREDO GOMEZ
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Southern District of Florida _
 United States Bankruptcy Court for : ______________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status             Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________           __________________________________


                                         Employer’s address        _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________
                                                                    City            State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     0.00                   0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     0.00
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
                                     Case 14-13814-RAM                                Doc 1            Filed 02/19/14              Page 17 of 40
Debtor 1         ALFREDO GOMEZ
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      0.00
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                           0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          0.00
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    0.00
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                           0.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       0.00
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
                                   Case 14-13814-RAM                  Doc 1        Filed 02/19/14            Page 18 of 40

  Fill in this information to identify your case:

  Debtor 1          ALFREDO GOMEZ
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Southern District of Florida _
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________                                             expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 
                                            X
                                                Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                    OTHER                                                      No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   DAUGHTER
                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   GRANDCHILD
                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   GRANDCHILD
                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               1,269.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
                                 Case 14-13814-RAM                   Doc 1     Filed 02/19/14       Page 19 of 40

 Debtor 1        ALFREDO GOMEZ
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     170.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     60.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     102.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      500.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    125.49
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    258.98
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         700.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
                                   Case 14-13814-RAM                Doc 1     Filed 02/19/14           Page 20 of 40

 Debtor 1        ALFREDO GOMEZ
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         3,285.47
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.
                                                                                                                         $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      3,285.47
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.     Explain here:




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
              Case 14-13814-RAM           Doc 1     Filed 02/19/14      Page 21 of 40



B6 Cover (Form 6 Cover) (12/07)




FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)

Schedule A - Real Property
Schedule B - Personal Property
Schedule C - Property Claimed as Exempt
Schedule D - Creditors Holding Secured Claims
Schedule E - Creditors Holding Unsecured Priority Claims
Schedule F - Creditors Holding Unsecured Nonpriority Claims
Schedule G - Executory Contracts and Unexpired Leases
Schedule H - Codebtors
Schedule I - Current Income of Individual Debtor(s)
Schedule J - Current Expenditures of Individual Debtors(s)

Unsworn Declaration Under Penalty of Perjury


GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
identified with the debtor’s name and case number. If the schedules are filed with the petition,
the case number should be left blank.

Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
claim is secured only in part or entitled to priority only in part, it still should be listed only once.
A claim which is secured in whole or in part should be listed on Schedule D only, and a claim
which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
the same claim twice. If a creditor has more than one claim, such as claims arising from separate
transactions, each claim should be scheduled separately.

Review the specific instructions for each schedule before completing the schedule.
                                           Case 14-13814-RAM
B6 Declaration (Official Form 6 - Declaration) (12/07)                                           Doc 1              Filed 02/19/14                        Page 22 of 40
      In re
              ALFREDO GOMEZ
              _________________________________________                                                                  ,                Case No. ______________________________
                          Debtor                                                                                                                               (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            14 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     February 19, 2014
Date __________________________________                                                                                        s/ALFREDO GOMEZ
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                  ALFREDO GOMEZ Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                          Case 14-13814-RAM            Doc 1   Filed 02/19/14   Page 23 of 40
B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF FLORIDA

In re ALFREDO GOMEZ                                                       Case No.
                                       Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: s/ALFREDO GOMEZ

Date: February 19, 2014




                                                         2
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B 7 (Official Form 7) (04/13)




                          UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF FLORIDA


In re: ALFREDO GOMEZ                                                    Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (***Bankruptcy filing year TE***):


                         Previous Year 1 (***Bankruptcy prior year 1
                         TE***):                                           FROM WORK
                         $30,571.00


                         Previous Year 2 (***Bankruptcy prior year 2
                         TE***):                                           FROM WORK
                         $30,726.00                                        FROM WORK
                         $27,563.00

            Joint Debtor:
                      N/A


            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
***IF      debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
Income
           joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
nonemploy
ment other must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
tf CO*** petition is not filed.)

                                AMOUNT                                        SOURCE

***IF Income debtor nonemployment TF OR Income spouse nonempl income TF***

            3. Payments to creditors

            Complete a. or b., as appropriate, and c.

None        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                      Case 14-13814-RAM                   Doc 1        Filed 02/19/14            Page 26 of 40
                                                                                                                                       2

           goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
            this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
            Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
            as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
            agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

            NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                       PAYMENTS               PAID                    STILL OWING


            Debtor:

None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
***IF       within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
Bankruptc
            constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
y
payments    any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
nonconsu    repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
mer debts   filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
tf CO***    not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

            NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                        PAYMENTS/              PAID OR                STILL
                                                                        TRANSFERS              VALUE OF               OWING
                                                                                               TRANSFERS

***IF (Bankruptcy nature of debts business TF OR Bankruptcy nature of debts also business TF) OR (Bankruptcy jdtr nature of
debts business TF OR Bankruptcy jdtr nature of debts also business TF)***
None      c. All debtors: List all payments made within one year immediately preceding the commencement of this case
***IF     to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
Bankruptc
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
y
payments a joint petition is not filed.)
1 yr tf
CO***

            NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
            AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING

***IF Payment dtr 1 yr payments TF OR Payment jdtr 1 yr payments TF***

            4. Suits and administrative proceedings, executions, garnishments and attachments

None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
           preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
            information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
            and a joint petition is not filed.)separated and a joint petition is not filed.)

            CAPTION OF SUIT                               NATURE OF                  COURT OR                   STATUS OR
            AND CASE NUMBER                               PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                                     LOCATION

***IF Lawsuit dtr suits and admin proceedings TF OR Lawsuit jdtr suits and admin preceedings TF***
None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
        must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
        the spouses are separated and a joint petition is not filed.)

            NAME AND ADDRESS                                                                   DESCRIPTION
            OF PERSON FOR WHOSE                                         DATE OF                AND VALUE

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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                                                                                                                                    3

          BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY

***IF Lawsuit dtr property seized for lawsuit TF OR Lawsuit jdtr property seized for lawsuit TF***

          5. Repossessions, foreclosures and returns

None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
         of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                     DATE OF REPOSSESSION,                     DESCRIPTION
          NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
          OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY

***IF Foreclosure dtr reposessions or foreclosures TF OR Foreclosure jdtr repossession or foreclosure TF***

          6. Assignments and receiverships

None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
          either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
          filed.)

                                                                                             TERMS OF
          NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
          OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT

***IF Assignment dtr TF OR Assignment jdtr TF***
None     b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
         include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)

                                             NAME AND LOCATION                                      DESCRIPTION
          NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
          OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY

***IF Assignment dtr property with receiver TF OR Assignment jdtr property with receiver TF***

          7. Gifts

None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
         except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
          and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
          chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS                   RELATIONSHIP                                           DESCRIPTION
          OF PERSON                          TO DEBTOR,                          DATE               AND VALUE
          OR ORGANIZATION                    IF ANY                              OF GIFT            OF GIFT

***IF Gift dtr TF OR Gift jdtr TF***

          8. Losses

None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
         of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
          include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)

          DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
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                                                                                                                                  4

         AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
         PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                  OF LOSS

***IF Loss dtr TF OR Loss jdtr TF***

         9. Payments related to debt counseling or bankruptcy

None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
        consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
         within one year immediately preceding the commencement of this case.

                                                  DATE OF PAYMENT,                          AMOUNT OF MONEY OR
         NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
         OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

         Debtor:
         Carlos A. Santos, II                                                               1,000.00
         61 Grand Canal Drive Suite 202
         Miami, Florida 33144




         10. Other transfers

None     a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
        the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
         this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                DESCRIBE PROPERTY
         NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
         RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED

***IF Transfer dtr within two years TF OR Transfer jdtr within two years TF***
None     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
        to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                            DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
         NAME OF TRUST OR OTHER                             TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
         DEVICE                                                                  INTEREST IN PROPERTY

***IF Transfer dtr trust TF OR Transfer jdtr trust TF***

         11. Closed financial accounts

None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
        closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
         checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
         held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
         instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
         and a joint petition is not filed.)

                                                                    TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
         NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
         OF INSTITUTION                                             AND AMOUNT OF FINAL                          OR CLOSING
                                                                    BALANCE

***IF Account closed dtr TF OR Account closed jdtr TF***

         12. Safe deposit boxes
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None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
        within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
         chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS                     NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
         OF BANK OR                           OF THOSE WITH ACCESS              OF                          TRANSFER
         OTHER DEPOSITORY                     TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                            IF ANY

***IF Safe deposit box dtr TF OR Safe deposit box jdtr TF***

         13. Setoffs

None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)

                                                                                DATE OF                       AMOUNT
         NAME AND ADDRESS OF CREDITOR                                           SETOFF                        OF SETOFF

***IF Setoff dtr TF OR Setoff jdtr TF***

         14. Property held for another person


None     List all property owned by another person that the debtor holds or controls.


         NAME AND ADDRESS                           DESCRIPTION AND
         OF OWNER                                   VALUE OF PROPERTY                        LOCATION OF PROPERTY

***IF Prop for other dtr TF OR Prop for other jdtr TF***

         15. Prior address of debtor

None     If debtor has moved within three years immediately preceding the commencement of this case, list all premises
        which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
         filed, report also any separate address of either spouse.

         ADDRESS                                      NAME USED                               DATES OF OCCUPANCY

***IF Debtor prior residence within three years TF OR Joint debtor prior residence within three years TF***

         16. Spouses and Former Spouses

None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
         immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
         any former spouse who resides or resided with the debtor in the community property state.

         NAME

***IF Debtor community property state in 8 yrs TF AND Debtor married in 8 years TF***

         17. Environmental Information.

         For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
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          releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
          other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
          or material.

          Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
          formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

          "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
          material, pollutant, or contaminant or similar term under an Environmental Law.

None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental
         unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
          governmental unit, the date of the notice, and, if known, the Environmental Law:

          SITE NAME                            NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
          AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                    LAW

***IF Environmental dtr site notice TF OR Environmental jdtr site notice TF***
None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
        of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

          SITE NAME                            NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
          AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                    LAW

***IF Env site dtr notified TF OR Env site jdtr notified TF***
None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
        respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
         party to the proceeding, and the docket number.

          NAME AND ADDRESS                                                                              STATUS OR
          OF GOVERNMENTAL UNIT                                            DOCKET NUMBER                 DISPOSITION

***IF Env site dtr proceeding TF OR Env site jdtr proceeding TF***

          18 . Nature, location and name of business

None      a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities, within six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities within six years immediately preceding the commencement of this case.


                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                     BEGINNING
                               OR OTHER INDIVIDUAL                                                                    AND
                               TAXPAYER-I.D. NO                                               NATURE OF               ENDING
          NAME                 (ITIN)/ COMPLETE EIN            ADDRESS                        BUSINESS                DATES

***IF Debtor business TF OR Joint debtor business TF***
None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
       defined in 11 U.S.C. § 101.
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                                                                                                                                     7

          NAME                                      ADDRESS

***IF (Debtor business TF OR Joint debtor business TF) AND Business single asset real estate TF***


           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                      DATES SERVICES RENDERED

***IF Debtor business TF OR Joint debtor business TF***
None    b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
       case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                     DATES SERVICES RENDERED

***IF Debtor business TF OR Joint debtor business TF***
None    c. List all firms or individuals who at the time of the commencement of this case were in possession of the
       books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS

***IF Debtor business TF OR Joint debtor business TF***
None    d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED

***IF Debtor business TF OR Joint debtor business TF***

          20. Inventories

None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
         taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                                DOLLAR AMOUNT
                                                                                                OF INVENTORY
                                                                                                (Specify cost, market or other
          DATE OF INVENTORY                         INVENTORY SUPERVISOR                        basis)

***IF Debtor business TF OR Joint debtor business TF***
None    b. List the name and address of the person having possession of the records of each of the inventories reported
       in a., above.

                                                    NAME AND ADDRESSES
                                                    OF CUSTODIAN
          DATE OF INVENTORY                         OF INVENTORY RECORDS

***IF Debtor business TF OR Joint debtor business TF***
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                                                                                                                                 8


               21. Current Partners, Officers, Directors and Shareholders

None           a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
***IF        partnership.
Debtor
business
TF AND
((Debtor
type MC =
"1" AND
(Debtor
business
corporate
officer or
partner
MC =
"Partner"
AND
Debtor
business
current or
former
officer part
MC =
"Current")
) OR
Debtor
type MC =
"3") AND
ANSWER
ED
(Partnershi
p member
name
RTE)***

               NAME AND ADDRESS                           NATURE OF INTEREST                        PERCENTAGE OF INTEREST

***IF Debtor business TF***
None    b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
***IF   directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
Debtor
        corporation.
business
TF AND
((Debtor
type MC =
"1" AND
(Debtor
business
corporate
officer or
partner
MC =
"Officer"
AND
Debtor
business
current or
former
officer part
MC =
"Current")
) OR
Debtor
type MC =
"2") AND
ANSWER
ED
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                                                                                                                                 9

(Corporati
on officer
name
RTE)***

                                                                                              NATURE AND PERCENTAGE
             NAME AND ADDRESS                         TITLE                                   OF STOCK OWNERSHIP

***IF Debtor business TF***

             22. Former partners, officers, directors and shareholders

None         a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
***IF        preceding the commencement of this case.
Debtor
business
TF AND
((Debtor
type MC =
"1" AND
(Debtor
business
corporate
officer or
partner
MC =
"Partner"
AND
Debtor
business
current or
former
officer part
MC =
"Former"))
OR Debtor
type MC =
"3") AND
ANSWER
ED
(Partnershi
p former
member
name
RTE)***

             NAME                                   ADDRESS                                   DATE OF WITHDRAWAL

***IF Debtor business TF***
None    b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
***IF   within one year immediately preceding the commencement of this case.
Debtor
business
TF AND
((Debtor
type MC =
"1" AND
(Debtor
business
corporate
officer or
partner
MC =
"Officer"
AND
Debtor
business
current or
former
                        Case 14-13814-RAM                  Doc 1        Filed 02/19/14           Page 34 of 40
                                                                                                                                       10

officer part
MC =
"Former"))
OR Debtor
type MC =
"2") AND
ANSWER
ED(Corpor
ation
former
officer
name
RTE)***

               NAME AND ADDRESS                                   TITLE                                  DATE OF TERMINATION

***IF Debtor business TF***

               23 . Withdrawals from a partnership or distributions by a corporation

None           If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
              including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
               during one year immediately preceding the commencement of this case.


               NAME & ADDRESS                                                                     AMOUNT OF MONEY
               OF RECIPIENT,                             DATE AND PURPOSE                         OR DESCRIPTION
               RELATIONSHIP TO DEBTOR                    OF WITHDRAWAL                            AND VALUE OF PROPERTY

***IF Debtor business TF***

               24. Tax Consolidation Group.

None           If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
              consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
               preceding the commencement of the case.

               NAME OF PARENT CORPORATION                                      TAXPAYER-IDENTIFICATION NUMBER (EIN)

***IF Debtor business TF AND Debtor type MC = "2"***

               25. Pension Funds.

None           If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
              which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
               preceding the commencement of the case.

               NAME OF PENSION FUND                                            TAXPAYER-IDENTIFICATION NUMBER (EIN)

                      ***IF Debtor business TF AND (Debtor type MC = "2" OR Debtor type MC = "3")**** * * * * *


               I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
               and any attachments thereto and that they are true and correct.



                                                                            Signature
               Date February 19, 2014                                       of Debtor      s/ALFREDO GOMEZ

                                                                            Signature of
                                                                            Joint Debtor
               Date                                                         (if any)
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                                                                                                                                     11


                       ***Bankruptcy form 7 continuation sheets NU*** continuation sheets attached


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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                        Andreu, Palma & Andreu PL
                        701 S.W. 27th Ave., Suite 900
                        Miami, FL 33189



                        Bank of America
                        Richard boudreau , 6 Manor Parkway
                        Salem, NH 03079



                        Bank of America
                        Richard Boudreau, 6 Mannor Parkway
                        Salem, NH 03079



                        BANK OF AMERICA
                        PO BOX 982234
                        EL PASO, TX 79998



                        BANK OF AMERICA
                        CAPITAL MANAGEMENT SERV, 726 EXCHANGE ST
                        BUFFALO, NY 14210



                        BANK OF AMERICA
                        ASSET ACCEPTANCE, PO BOX 2036
                        WARREN, MI 48090



                        Best Buy
                        Haster Law Office, 6640 Shady Oak Rd, St
                        Eden Prairie, MN 55344



                        BRANDSMART USA
                        3200 SW 42 ST
                        HOLLYWOOD, FL 33312



                        CAPITAL ONE/AUTO
                        PO BOX 60511
                        CITY OF INDUSTRY, CA 91719
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                        CATALOG ACTIVATION
                        6200 TENNYSON PKWY, STE, 200
                        PLANO, TX 75024



                        CHASE
                        PO BOX 78420
                        PHOENIX, AZ 85062



                        CHASE
                        ASSET ACCEPTANCE, PO BOX 2036
                        WARREN, MI 48090



                        CITIBANK
                        PO BOX 390905
                        MINNEAPOLIS, MN 55439



                        Citibank South Dakota
                        Arthur Drew Rubin, P.O. Box 47718
                        Jacksonville, FL 32247



                        CITIBANK USA
                        FIRST NATIONAL COLLECTION, 610 WALTHAM W
                        SPARK, NV 89434



                        EQUABLE ASCENT FINANCIAL
                        RPM, PO BOX 1548
                        LYNNWOOD, WA 98046



                        FIRESTONE/CBCS
                        PO BOX 2589
                        COLUMBUS, OH 43216



                        FIRSTOURCE
                        JACKSON HEALTH SYSTEM, PO BOX 1028250
                        ATLANTA, GA 30368
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                        HOME DEPOT
                        LTD, 7322 SW FREEWAY, STE, 1600
                        HOUSTON, TX 77074



                        HOME DEPOT
                        CITIBANK, PO BOX 469100
                        ESCONDIDO, CA 92046



                        HSBC
                        MCM, 8875 AERO DR, STE, 200
                        SAN DIEGO, CA 92123



                        JACKSON SOUTH COMMUNITY HOSP
                        JMG ER PHYSICIANS, PO BOX 919278
                        ORLANDO, FL 32891



                        JMG PHYSICIANS JSOUTH
                        BROWARD ADJUSTMENT SERV, PO BOX 11879, F
                        LAUDERDALE, FL 33339



                        JMG SPECIALTY PHYSICIANS
                        JACKSON SOUTH HOSPITAL, PO BOX 919277
                        ORLANDO, FL 32891



                        LOWES
                        PORTFOLIO RECOVERY ASSOC, PO BOX 12903
                        NORFOLK, VA 23541



                        MIAMI CARDIOLOGY
                        PO BOX 164006
                        MIAMI, FL 33116



                        Rubing &Debski
                        P.O.Box 47718
                        Jacksonville, FL 32247
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                        SEARS
                        PO BOX 6275
                        SIOUX FALLS, SD 57117



                        SHEFFIELD FINANCIAL
                        CENTRAL CREDIT SERV, PO BOX 15118
                        JACKSONVILLE, FL 32239



                        SHEFFIELD FINANCIAL
                        PO BOX 580229
                        CHARLOTTE, NC 28258



                        SOUTH MIAMI HOSPITAL
                        ARGENT HEALTH CARE, PO BOX 33339
                        PHOENIX, AZ 85067



                        THE HOME DEPOT
                        7840 ROSWELL RD
                        ATLANTA, GA 30350
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B 8 (Official Form 8) (12/08)




                           UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
In re ALFREDO GOMEZ                                                           Case No.
           Debtor                                                             Chapter 7

           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                          Describe Property Securing Debt:
 None
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)
  Property No. 1
 Lessor’s Name:                          Describe Leased Property:                Lease will be Assumed pursuant
 None                                                                             to 11 U.S.C. § 365(p)(2):
                                                                                   YES            NO


I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: February 19, 2014                                            s/ALFREDO GOMEZ
                                                                   Signature of Debtor




                                                                   Signature of Joint Debtor
